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           Exhibit P-8
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


                                         :
SUSAN BYRNE,                             :      CIVIL CASE NO.: 3:17-cv-01104-VLB
    Plaintiff                            :
                                         :
v.                                       :
                                         :
YALE UNIVERSITY,                         :
     Defendant                           :      DECEMBER 30, 2019
                                         :

          PLAINTIFF’S MOTION IN LIMINE RE: LAY OPINION TESTIMONY

      Plaintiff hereby moves in limine to prevent Defendant’s witnesses from

testifying as to their opinions regarding decisions made regarding Plaintiff’s

employment when such individuals and/or their observations were not part of any

decision-making process in the denial of Plaintiff’s tenure application.

      Defendants’ Witness List lists various witnesses, including Julie Dorsey

and Steven Wilkinson who are disclosed as being expected to testify to subject

matters including “review… of the Plaintiff’s appeals following the Plaintiff’s

tenure decision, and other facts and circumstances related to this matter” as well

as John Dovidio, Tamar Gendler, and Amy Hungerford who Defendant states

“will testify regarding the tenure review process, both generally and in the case of

Plaintiff, [their] involvement in Plaintiff’s tenure review, Plaintiff’s recusal request,

and other facts and circumstances related to this matter.”

      Given the lack of specificity as to the content of the testimony, Plaintiff

believes that Defendants will attempt to elicit or will offer testimony from

witnesses who did not make decisions regarding Plaintiff’s employment and/or
       Case 3:17-cv-01104-VLB Document 98-23 Filed 12/30/19 Page 3 of 8




her allegations of retaliation and discrimination that merely reflect the witnesses’

own opinion of what the right outcome should have been, or what Defendants’

motives were in reaching the decision that are material to the jury’s findings on

the ultimate issues in the case. Such testimony is not admissible under Fed. R.

Evid. 701(b).

      Wherefore, for all the foregoing reasons, Plaintiff respectfully requests that

this motion in limine be granted.

                                         PLAINTIFF,
                                         SUSAN BYRNE


                                     By:/s/ Magdalena B. Wiktor
                                        Magdalena B. Wiktor
                                        Fed. Bar No.: (CT28647)
                                        Madsen, Prestley & Parenteau, LLC
                                        105 Huntington Street
                                        New London, CT 06320
                                        Tel: (860) 442-2466
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                            CERTIFICATION OF SERVICE

      I hereby certify that on the 30th day of December, 2019, a copy of foregoing
Memorandum in Support of Plaintiff’s Motion in Limine Re: Lay Opinion
Testimony was filed electronically [and served by mail on anyone unable to
accept electronic filing]. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system [or by mail to anyone unable to
accept electronic filing]. Parties may access this filing through the Court’s
system.


                                              /s/ Magdalena B. Wiktor
                                         Magdalena B. Wiktor
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


                                         :
SUSAN BYRNE,                             :      CIVIL CASE NO.: 3:17-cv-01104-VLB
    Plaintiff                            :
                                         :
v.                                       :
                                         :
YALE UNIVERSITY,                         :
     Defendant                           :      DECEMBER 30, 2019
                                         :

         PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION IN LIMINE
                        RE: LAY OPINION TESTIMONY

      Plaintiff hereby moves in limine to prevent Defendant’s witnesses from

testifying as to their opinions regarding decisions made regarding Plaintiff’s

employment when such individuals and/or their observations were not part of any

decision-making process. These individuals were not part of the decision-

making process in the denial of Plaintiff’s tenure application and as such cannot

testify as to the decision to not grant Plaintiff tenure.

      Defendant’s Witness List lists various witnesses, including Julie Dorsey

amd Steven Wilkinson who are disclosed as being expected to testify to subject

matters including “review… of the Plaintiff’s appeals following the Plaintiff’s

tenure decision, and other facts and circumstances related to this matter” as well

as John Dovidio, Tamar Gendler, and Amy Hungerford who Defendant states

“will testify regarding the tenure review process, both generally and in the case

of Plaintiff, [their] involvement in Plaintiff’s tenure review, Plaintiff’s recusal

request, and other facts and circumstances related to this matter.”
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      Given the lack of specificity as to the content of the testimony, Plaintiff

believes that Defendants will attempt to elicit or will offer testimony from

witnesses who did not make decisions regarding Plaintiff’s allegations of

retaliation and discrimination that merely reflect the witnesses’ own opinion of

what the right outcome should have been, or what Defendants’ motives were in

reaching the decision that are material to the jury’s findings on the ultimate

issues in the case. Such testimony is not admissible under Fed. R. Evid. 701(b) –

a witness may testify to their observations of another’s actions and demeanor, to

the extent such perceptions are relevant, but attributing a motive to the observed

conduct or demeanor is not permitted as purely speculative lay opinion. Hester v.

BIC Corp., 225 F.3d 178, 185 (2d Cir. 2000).

      A lay witness may only testify in the form of an opinion if the testimony “is

limited to those opinions or inferences which are (a) rationally based on the

perception of the witness and (b) helpful to a clear understanding of the witness's

testimony or the determinations of a fact in issue.” Fed. R. Evid. 701. “Rule 701(b)

is designed to ‘provide assurances against the admission of opinions which

would merely tell the jury what result to reach.’” United States v. Rea, 958 F.2d

1206, 1215 (2d Cir. 1992) (quoting Fed. R. Evid. 701 Advisory Committee Note on

1972 Proposed Rule) (emphasis added). Thus if “attempts are made to introduce

meaningless assertions which amount to little more than choosing up sides,

exclusion for lack of helpfulness is called for by Rule 701(B).” Hester, 225 F.3d at

181 (internal citations removed).

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      In Hester v. BIC Corp., the employer appealed judgment following the

District Court’s allowance of lay opinion testimony from witnesses who observed

interactions between plaintiff and her supervisor, but who were not involved in

any decision-making process. The lay opinion testimony by witnesses

impermissibly attributed a race-related motive to actions taken by plaintiff’s

supervisor. In reversing the judgment of the District Court that allowed this

evidence, the Second Circuit held:

      We follow the reasoning of Lightfoot, Rea and opinions in other
      circuits, and hold that in an employment discrimination action, Rule
      701(b) bars lay opinion testimony that amounts to a naked speculation
      concerning the motivation for a defendant's adverse employment
      decision. Witnesses are free to testify fully as to their own observations
      of the defendant's interactions with the plaintiff or with other
      employees, but “the witness's opinion as to the defendant's [ultimate
      motivations] will often not be helpful within the meaning of Rule 701
      because the jury will be in as good a position as the witness to draw
      the inference as to whether or not the defendant” was motivated by an
      impermissible animus. Rea, 958 F.2d at 1216. The four witnesses here
      testified that they observed Beck treat Hester with (variously)
      condescension, coldness, hostility or disregard, as compared with the
      three or so other Group Leaders, who were white. A jury can draw its
      own conclusions “from observed events or communications that can
      be adequately described” to it, such as the observed differential
      treatment described by Hester's witnesses. Id. at 1216. But their
      speculative lay opinion that this differential is attributable to race rather
      than anything else, is not helpful in this case because it “merely tell[s]
      the jury what result to reach.” Id. at 1215.

Hester v. BIC Corp., 225 F.3d at 185. See Abdus-Sabur v. Port Auth. of New York

& New Jersey, 2001 WL 1111984, at *1 (S.D.N.Y. Sept. 20, 2001) (testimony that

“Mr. Stevens did not make a serious effort to create a harmonious work

atmosphere for black employees at the toll plaza” is an example of conclusory,


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subjective opinion that is inadmissible because it does not establish facts but

merely states the witness’ own views about events as she may have perceived

them.) Thus, Hester v. BIC Corp. stands for the proposition that a witness may

testify to his observations of another’s actions and demeanor, to the extent such

perceptions are relevant, but attributing a motive to the observed conduct or

demeanor is not permitted as purely speculative lay opinion.

      Likewise, witnesses who were not decision makers and/or who were not

involved in the decisions made regarding Plaintiff’s allegations of discrimination

or retaliation, breach of contract, and/or negligent misrepresentation, may not

testify as to their opinion regarding either the Defendants’ or the Plaintiff’s

animus or motivation in these subject matter areas. These witnesses are also not

permitted to testify whether, in their opinion, an action taken by Defendants or

Plaintiff within these subject matters areas was appropriate or inappropriate.

These witnesses also cannot testify whether they saw no evidence that

Defendants retaliated or discriminated against Plaintiff in this case. Jacobs v.

Gen. Elec. Co., 275 Conn. 395, 408 (2005) (reversing judgment when trial court

allowed lay opinion from co-workers, who were not involved in making the layoff

decision, that plaintiff was the correct person to be selected for reduction in force

and was not discriminated on the basis of age.)

      In addition, even if lay opinions could past the rigorous test of admissibility

under Rule 701, such testimony should be excluded by the court under Fed. R.

Evid. 403 since such evidence from individuals who did not have firsthand

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knowledge of the motive for decisions made would be cumulative or a waste of

time. Also, whatever relevance such evidence might have will be substantially

outweighed by the danger of unfair prejudice to Plaintiff. United States v. Rea,

958 F.2d 1206, 1216 (2d Cir. 1992).

      Wherefore, for all the foregoing reasons, Plaintiff respectfully requests that

this motion in limine be granted.

                                         PLAINTIFF,
                                         SUSAN BYRNE


                                      By:             /s/ Magdalena B. Wiktor
                                         Magdalena B. Wiktor
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                            CERTIFICATION OF SERVICE

      I hereby certify that on the 30th day of December, 2019, a copy of foregoing
Memorandum in Support of Plaintiff’s Motion in Limine Re: Lay Opinion
Testimony was filed electronically [and served by mail on anyone unable to
accept electronic filing]. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system [or by mail to anyone unable to
accept electronic filing]. Parties may access this filing through the Court’s
system.


                                              /s/ Magdalena B. Wiktor
                                         Magdalena B. Wiktor




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